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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                               :   Bankruptcy No. 18-22760-GLT
                                                      :
 CRAIG H. LIPINSKI                                    :   Chapter 7
                                                      :
                               Debtor                 :   Doc. No. ______
                                                      :
 JEFFREY J. SIKIRICA, Trustee                         :
                                                      :
             Movant                                   :
                                                      :
       v.                                             :
                                                      :
 NO RESPONDENTS.                                      :

          MOTION OF CHAPTER 7 TRUSTEE FOR AN ORDER
     APPROVING THE SALE OF MOTOR VEHICLE OF THE DEBTOR’S
     ESTATE FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND
ENCUMBRANCES PURSUANT TO 11 U.S.C. §§ 105 AND 363 AND RELATED RELIEF

        COMES NOW, Jeffrey J. Sikirica, Chapter 7 trustee (“hereinafter Trustee”) for the

bankruptcy estate (hereinafter the “Estate”) of the above captioned debtor (“hereinafter the

“Debtor”), requesting the entry of an order approving the sale of Motor Vehicle of the Debtor’s

Estate free and clear of liens, claims, interests, and encumbrances pursuant to 11 U.S.C. §§ 105

and 363, and related relief (hereinafter the “Sale Motion”). In support of the Sale Motion, the

Trustee respectfully states as follows:

                                            Jurisdiction

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.    

        2.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (N).

        3.      Venue is proper in this district pursuant to 28 U.S.C. § 1409.

                                           Background

        4.      On July 9, 2018, the Debtor filed a voluntary petition for relief under chapter 7 of


                                                   
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the Bankruptcy Code, thereby commencing the above-captioned bankruptcy case.

          5.    Trustee was duly appointed as the chapter 7 trustee in this case and has been so

serving.

          6.    The Trustee has taken possession of a 2010 Nissan 370Z, VIN

JN1AZ4FH0AM301086 (hereinafter the “Nissan”).

          7.    There are no known liens against the Nissan.

          8.    Ownership of the Nissan in in the name of the Debtor only.

                                         Requested Relief

          9.    The Trustee is seeking court approval to sell the Nissan free and clear of all liens,

claims, interests, and encumbrances.

          10.   The Trustee has received an offer of Six Thousand Five Hundred Dollars and No

Cents ($6,500.00) from BLTZ, LLC or its assigns for the Nissan.

          11.   By this Sale Motion, the Trustee seeks approval of the sale of the Nissan to

BLTZ, LLC or to a “Successful Bidder” if additional bidders appear, subject to higher and better

offers.

          12.   The Trustee requests that the proposed sale be ordered to take place AS IS,

WHERE IS and WITH ALL FAULTS and with no representations and/or warranties of any

kind, free and clear of any and all liens, claims, and encumbrances.

          13.   The Trustee requests authorization to make and execute on behalf of Debtor

any and all documents necessary to transfer title to the Real Property.

          14.   The Trustee, using its reasoned business judgment, believe that the best way

to maximize the value of this asset is to sell the asset in the form and manner contemplated

in this Sale Motion.


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       15.      At all times relevant hereto, the Trustee and BLTZ, LLC in negotiating the sale

acted in good faith with respect to the within sale in accordance with In Re Abbotts Dairies of

Pennsylvania, Inc., 788 F2d. 143 (3d Cir. 1986). 

       WHEREFORE, the Trustee respectfully requests entry of an order authorizing the sale of

the Nissan on the terms set forth in this Sale Motion and granting such other and further relief as

this Court deems just and proper.


Dated: October 31, 2018                               Respectfully submitted,

                                                      /s/Jeffrey J. Sikirica
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                                                      COUNSEL FOR TRUSTEE




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